   1 David N. Chandler, Sr.    SBN 60780
     David N. Chandler, Jr.    SBN 235427
   2 DAVID N. CHANDLER, p.c.
     1747 Fourth Street
   3 Santa Rosa, CA 95404
     Telephone: (707) 528-4331
   4
     Attorneys for Debtor
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   8                        UNITED STATES BANKRUPTCY COURT

   9                       NORTHERN DISTRICT OF CALIFORNIA

  10   IN RE:                                      CASE No. 17-30501 DM
  11   BRUGNARA PROPERTIES, VI,                    CHAPTER 11
  12        Debtor.                          /     MOTION FOR ORDER RELIEVING
                                                   COUNSEL; DECLARATION OF
  13
                                                   DAVID N. CHANDLER
                                                   Date: July 7, 2017
  14
                                                   Time: 10:00 a.m.
                                                   Place: 450 Golden Gate Ave.,
  15
                                                          16th Fl., Ctrm. 17
                                                          San Francisco, CA
  16

  17       TO: HONORABLE DENNIS MONTALI, UNITED STATES BANKRUPTCY JUDGE:
  18       David N. Chandler, p.c., and David N. Chandler, general
  19 counsel for the Debtor herein hereby moves the above entitled Court

  20 for an Order Relieving David N. Chandler, p.c. and David N.

  21 Chandler as counsel for Debtor herein.

  22       Said Motion is made on the grounds that (1) the managing
  23 member of the Debtor has discharged David N. Chandler, p.c. in

  24 writing and has failed to obtain substitute counsel, (2) the

  25 managing member of the Debtor herein has failed to respond and

  26 fulfill obligations pursuant to OUST Guidelines of the Debtor in

  27 Possession, (3) failed to cooperate in obtaining qualification of

  28
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   1 counsel, and (4) communicated matters to counsel which prevent

   2 representation.

   3       Said Motion is made and based hereon, on the Declaration of

   4 David N. Chandler appended hereto.

   5 Dated:       June 16, 2017                     DAVID N. CHANDLER, p.c.

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   7                                                By: /s/David N. Chandler
                                                    David N. Chandler
   8                                                Attorney for Debtor

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  10                       DECLARATION OF DAVID N. CHANDLER

  11       I, David N. Chandler, declare and say:

  12       1.     That if called as a witness, I am competent to testify to

  13 the within matters from my own knowledge.

  14       2.     Kay Brugnara is the managing member of the Debtor herein.

  15       3.     Ms. Brugnara discharged me by email dated June 3, 2017

  16 and advised me that she had made other arrangements for counsel and

  17 directed me to forward the unapplied retainer.

  18       4.     Schedules and Statement of Affairs were due June 5, 2017.

  19 Ms. Brugnara was made aware that the substitution did not extend

  20 the time to file or any other time deadlines in the case.                          Our

  21 office moved for additional time to file which was granted.                        The

  22 Schedules and Statement of Affairs are now due June 19, 2017.

  23       5.     Ms. Brugnara was to have the Substitution of Attorneys in

  24 my office no later than Monday, June 12, 2017.

  25       6.     It is our practice to meet with a client in the office to

  26 review Schedules and SOFA in detail before execution and filing and

  27 to review and execute an employment application at the same time.

  28                                          -2-
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   1 As   a    consequence,       I   have      been   unable   to   obtain     an   executed

   2 employment application.            After having been discharged, it would be

   3 inappropriate for me to submit such an application without consent

   4 and understanding of the client as to the effect of submission of

   5 same.

   6          7.     The managing member has indicated that it would be too

   7 far for her to come to my office to review documents for signature

   8 and based thereon, as well as other factors, she had discharged our

   9 office.

  10          8.     In reiterating the reasons for discharge, Ms. Brugnara

  11 had stated matters to me which are contrary to my confidence that

  12 I am ethically able to represent the Debtor in Possession.

  13          9.     I continue to hold the balance of the unapplied retainer

  14 in trust for the estate.                We have prepared draft documents for

  15 filing which I will provide as directed by the Court.

  16          10.    It is my opinion that it is not possible for me to be re-

  17 engaged by the Debtor in Possession based upon the Rules of

  18 Professional Conduct. It is my opinion that I have been discharged

  19 from the matters for which I accepted engagement and am unable and

  20 unwilling to accept new engagement.

  21          11.    I am attorney of record in the matter pending before the

  22 Court and wish to be relieved as counsel.                  Ms. Brugnara is aware of

  23 the fact that a limited liability company or corporation must be

  24 represented by an attorney and was aware of that prior to her

  25 discharging me.          Ethically, I can take no action on behalf of the

  26 estate or Debtor in Possession after having been discharged except

  27 that which is required to prevent harm to the estate. Action taken

  28                                              -3-
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   1 from and after having been discharged was taken to prevent harm.

   2       Executed under penalty of perjury this 16th day of June, 2017

   3 at Santa Rosa, California.

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   5                                                 /s/David N. Chandler
                                                    David N. Chandler
   6                                                Attorney for Debtor

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